859 F.2d 923
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.William Edward WHITE, Jr., Petitioner-Appellant,v.George D. HANCOCK, Attorney General of Kentucky,Respondents-Appellees.
    No. 88-5699.
    United States Court of Appeals, Sixth Circuit.
    Oct. 4, 1988.
    
      1
      Before WELLFORD and DAVID A. NELSON, Circuit Judges, and RICHARD B. McQUADE, District Judge.*
    
    ORDER
    
      2
      This court entered an order on July 15, 1988, directing the appellant to show cause within 21 days why his appeal should not be dismissed for lack of jurisdiction.  Appellant has failed to respond.
    
    
      3
      It appears from the record that the final judgment was entered July 31, 1987.  The notice of appeal filed on June 23, 1988 was over nine months late.  Fed.R.App.P. 4(a) and 26(a).
    
    
      4
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Fed.R.App.P. 4(a) is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.   McMillan v. Barksdale, 823 F.2d 981, 982 (6th Cir.1987);  Myers v. Ace Hardware, Inc., 777 F.2d 1099, 1102 (6th Cir.1985);  Denley v. Shearson/American Express, Inc., 733 F.2d 39, 41 (6th Cir.1984) (per curiam);  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016, 1018 (6th Cir.1983).  Fed.R.App.P. 26(b) specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      5
      Accordingly, it is ORDERED that the appeal be and hereby is dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    
      
        *
         The Honorable Richard B. McQuade, U.S. District Judge for the Northern District of Ohio, sitting by designation
      
    
    